                                                                                                                             FILED
 AO 91 (Rev. 11/11) Criminal Complaint                                                                                   AUG 2 5 2022
                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                          Eastern District of North Carolina

                 United States of America                                   )
                                 v.
                                                                            )                  c::: ' 'J_:}- \"AJ -        1l c.?D -j   ~
                                                                            )       Case No.   -...J '
              KILLIAN MACKEITHAN RYAN                                       )
                                                                            )
                                                                            )
                                                                            )
                               Defendant(s)


                                                          CRil\.IlNAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                             05/15/2020                 in the county of              Cumberland             in the
        Eastern            District of              North Carolina      , the defendant(s) violated:

                Code Section                                                          Offense Description
  18 U.S.C. Section 1001                                 knowing and willing false statement




            This criminal complaint is based on these facts:
 See attached affidavit.




            0 Continued on the attached sheet.



                                                                                                         Complainant's signature

                                                                                                TYLER J. NEWMAN, FBI TFO
On this day, nUJ- ~ ,Jb,.J~
appeared before me via reliable electronic means,
                                                                                                         Printed name and title

was placed under oath, and attested to the
contents of this Complaint




 City and state:                                Raleigh, NC                                               JAMES E. GATES
                                                                                                         Printed name and title




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                         IN THE UNITED STATES DISTRICT COURT
                       FOR EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                AFFIDAVIT IN SUPPORT OF
                                 A CRIMINAL COMPLAINT

        I, TYLER J. NEWMAN, being first duly sworn, hereby depose and state as follows:


                       INTRODUCTION AND AGENT BACKGROUND


        1.      I am a Task Force Officer (TFO) employed by Fayetteville Police Department and

assigned to the Federal Bureau of Investigation Joint Terrorism Task Force (JTTF). I have been

part of the task force since June 2020 and employed as a law enforcement officer since 2014. I am

authorized to investigate crimes involving all violations of state law along with applicable federal

law. Your affiant is currently assigned to the Charlotte Division, Fayetteville Resident Agency

located in Fayetteville, NC. I am assigned to investigate matters involving domestic terrorism,

including those laws relating to the federal violation below. I have conducted, as well as assisted

other law enforcement officers with surveillance, search warrants, arrests and interviews of

persons involved in a variety of both state and federal violations. your affiant successfully

completed Basic Law Enforcement Training through the Fayetteville Police Department Training

Division in 2014. After BLET I completed the required fourteen weeks training program with the

patrol division. During my time with Fayetteville Police Department, I worked patrol before

becoming an Aggravated Assault Detective. While assigned to the detective division I have led

and assisted with investigations of violent crimes which have resulted in arrests and convictions.

The type of violent crime which was investigated includes but was not limited to ; 1st degree

murder, attempted 1st degree murder, robbery, kidnapping, and assault with a deadly weapon

inflicting serious injury.




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        2.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show simply that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.


        3.       Based on the facts as set forth in this affidavit, there is probable cause to believe

that KILLIAN RY AN, date of birth February XX 20XX, knowingly made a false and material

statement(s) in violation of 18 U.S.C. § 1001.

                                        APPLICABLE STATUTES

        4.       Title 18, U.S.C. Section 1001 makes it unlawful for any person, in any matter

within the jurisdiction of the executive branch of the United States government, to knowingly

and willfully make any materially false, fictitious, or fraudulent statement or representation; or

make or uses any false writing or document knowing the same to contain any materially false,

fictitious , or fraudulent statement or entry

                                        PROBABLE CAUSE


        5.       On 05/15/2020, KILLIAN MACKEITHAN RYAN submitted Standard Form 86,

SF86. SF86 is the application for a security clearance which would be issued by the United States

Government. Thereafter, RY AN started an active-duty assignment within the United States Army.

on 05/27/2020. RYAN enlisted in the U.S Army as a 13F, Joint Fire Support Specialist. This

specific military occupation requires a secret security clearance.

        6.       On 05/27/2020 RYAN reported to Fort Jackson, SC where he completed basic

military combat training. After basic training RYAN reported to Fort Sill, OK for Advanced

Individual Training. RYAN was then sent to Fort Benning, GA for U.S Army Airborne school,

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11 /30/2020 to 12/18/2021. Upon completion of training RYAN reported to Fort Bragg, NC and is

currently assigned to 2nd Battalion, 319th Airborne Field Artillery Regiment, 2nd Airborne

Brigade Combat Team, 82nd Airborne Division.

           7.       In completing the SF86, RYAN listed his biological father as RICHARD

MATTHEW DILLARD, date of birth 12/XX/19XX. In the optional comment block RYAN stated

that he hasn't had contact with his father in over 10 years and he is not listed on his birth certificate.

On 08/09/2020 the Department of Defense adjudicated RYAN's SF86 and issued him a secret

security clearance.

           8.       DILLARD is a convicted felon with a criminal history in Washington and

California for drug violations and auto theft. DILLARD was also denied a fuearm purchase in

June 2019. Affiant located several ofDILLARD's social media accounts which include Instagram

account sigurd_fenrisson 1 and Instagram account Sigurdfenrissontattoo. Open-source check of the                           .
                                                                                                             (l.u,sl"t-
sigurd_fenrisson account uses as its X profile picture a picture of the same individual the affiant ~~

has seen in the DMV photo of DILLARD. On 06/17/2019 DILLARD posted a picture of himself,~

RYAN and a woman at what appears to be RYAN' s high school graduation:                                        "'()<54...




                                                               - • -1M1•11111J01
                                                     T-   Jon•1110-1ec0011TC




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    The term " Sigurd" is associated with a hero in Norse mythology who slays the dragon Fafnir.

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Instagram account sigurd_femisson has been in contact with numerous accounts associated with

racially motivated extremism.

       9.       Pursuant to legal process RYAN is believed to be the sole person in control of

various Instagram accounts. One of the Instagram accounts associated with RY AN is Ace

Hole/ace_sigurdson UID 45874416800. Legal process reveled that this account was created using

an email account of Killlianmryan@gmail.com and phone number 15416007237. The term

"Sigurdsson" is a Norwegian patronymic meaning the son of Sigurd.          Additionally, the five

specific accounts noted below in paragraph 12 are also tied to RY AN through registration data.

Account #4 used the email account Naziace1488@gmail.com during the creation of the account.

Accounts 1,2,3 and 5 used RY AN' s phone number during the creation of the account. An

additional account linked to RYAN, Ace_the_punished UID 34236513921 , created the account

usmg   RYAN's       phone    number    along   with   two    separate   email   addresses;   both

killianmryan@gmail.com and naziace 1488@gmail.com,

       10.      Killianmryan@gmail.com belongs to google account ID 714313190556 with a

name of KILLIAN RYAN and recovery phone number of 15419998451. 1549998451 was used

on the SF86 by RYAN as his personal telephone number. The phone number 1541600723 7, used

in the establishment of the Instagram account Ace Hole/ace_sigurdson mentioned above, was

reported by RY AN on the SF86 as a contact number for his mother.

       11.      Pursuant to legal process it was determined that the following Instagram accounts

associated with RY AN through registration information have been in contact with his biological

father's Instagram in the ten-year period during which RYAN asserted he had had no contact:




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                       RY AN' s Instagram accounts              Messages exchanged with
                                                                DILLARD        at   Instagram
                                                                account Sigurd fenrisson
         Account       ace.hole- .m.d- v4/ DM to Follow         148, from Jan to May 2020
         #1
         Account       ace.hole m.d v6/DM IF YOU DON' T 19, on Feb. 20. 2020
         #2            HA VE MUTUALS
         Account       ace_of_anp_v9                    5, from Mar 1 to Mar 6, 20202
         #3
         Account       ace.hole- m.d- vl 9/ace.isdead- v2       At least 1, May 11 , 2020
         #4
         Account       ace.hole_midget.detective                 178, from July to Nov 2019
         #5


        12.     Legal process also demonstrated that all these Accounts have all been in contact with

numerous accounts associated with racially motivated extremism. In fact, on Account # 4, RYAN

posted his motivation for joining the Army: "I serve for combat experience so I'm more proficient

in killing niggers."

         13.     As noted above, on both the SF 86 and in creating various Instagram accounts,

RY AN reported his cellular telephone number as 541-999-8451 . Pursuant to legal process for that

phone number (541-999-8451) it was discovered that between 04/01 /2020 to 03/23/2021 RY AN

 had 36 separate phone calls with phone number 206-914-3960. The affiant determined through

 Accurint and public source information that 206-914-3960 is used by DILLARD. Specifically,

 and by way of example, the two numbers exchanged calls on April 29, May 1, May 2, May3, and

 May 5 of 2020, all just prior to RYAN' s statements on the submitted SF 86.

         14.     RYAN used his numerous Instagram accounts and his assigned cellular telephone

 number to contact his biological father, DILLARD, before and after he filed his SF86. RYAN




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                    provided false information on his SF86 which was used to gain a secret security clearance from

                    the United States government.


                                                               CONCLUSION


                                15.   Based on the foregoing, your affiant respectfully asserts there is probable cause to

                    believe.that RYAN, in a matter before the executive branch of the government of the UNITED

                    STATES, knowingly and willfully made a false statement in violation of 18 U.S.C. § 1001.




                    So attested under penalty of perjury, this 25th day of August, 2022.



                                                                           TYLER J. NEWMAN
                                                                           Task Fo.rce Officer
                                                                           Federal Bureau ofinvestigation



                   On this day,         rYLIi., S, ,JG:(µ~                       appeared before me via reliable
                   electronic means, was placed under oath, and attested to the contents of this affidavit.



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                                                                          UNITED STATES MAGISTRATE JUDGE




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